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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           ANGEL U.,                 :
                                     :
               Plaintiff,            :
                                     :
               v.                    :                     CIVIL ACTION FILE NO.
                                     :                     1:16-cv-03606-AJB
           COMMISSIONER, SOCIAL      :
                                   1
           SECURITY ADMINISTRATION, :
                                     :
               Defendant.            :

                                     O R D E R A N D O P I N I O N2

                 Plaintiff Angela U. (“Plaintiff”) brought this action pursuant to §§ 205(g)

           and 1631(c) of the Social Security Act (“the Act”), 42 U.S.C. §§ 405(g) and 1383(c)(3),

           to obtain judicial review of the final decision of the Commissioner of the Social


                 1
                          Carolyn W. Colvin was replaced by Nancy A. Berryhill as the Acting
           Commissioner of Social Security beginning January 23, 2017. However,
           Ms. Berryhill’s acting status ended as a matter of law pursuant to the Federal Vacancies
           Reform Act, 5 U.S.C. § 3345 et seq. Pursuant to Fed. R. Civ. P. 17(d), a public officer
           who sues or is sued in an official capacity may be designated by official title rather than
           by name. Since Ms. Berryhill no longer is the Acting Commissioner, and no acting
           Commissioner has been designated, the Clerk is DIRECTED to identify Defendant by
           the official title rather than by name.
                 2
                         The parties have consented to the exercise of jurisdiction by the
           undersigned pursuant to 28 U.S.C. § 636(c) and Rule 73 of the Federal Rules of Civil
           Procedure. (See second and third Dkt. Entries dated 6/12/17). Therefore, this Order
           constitutes a final Order of the Court.


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           Security Administration (“the Commissioner”) denying her application for

           Supplemental Security Income (“SSI”) and Disability Insurance Benefits (“DIB”).3

           For the reasons set forth below, the undersigned AFFIRMS the final decision of the

           Commissioner.

           I.     PROCEDURAL HISTORY

                  On January 23, 2012, Plaintiff filed her application for DIB and SSI alleging a

           disability onset date of June 1, 2009. [Record (hereinafter “R”) R185]. These claims

           were denied initially on July 17, 2012 and upon reconsideration on November 8, 2012.

           [R86-90]. Thereafter, Plaintiff filed a written request for a hearing. [R96]. Plaintiff

           appeared and testified at a hearing before an Administrative Law Judge (“ALJ”) on


                  3
                         Title XVI of the Act, 42 U.S.C. § 1381, et seq., provides for SSI for the
           disabled, whereas Title II of the Social Security Act provides for federal DIB,
           42 U.S.C. § 401, et seq. The relevant law and regulations governing the determination
           of disability under a claim for DIB are nearly identical to those governing the
           determination under a claim for SSI. Wind v. Barnhart, 133 Fed. Appx. 684, 690 n.4
           (11th Cir. June 2, 2005) (citing McDaniel v. Bowen, 800 F.2d 1026, 1031 n.4
           (11th Cir. 1986)). Title 42 U.S.C. § 1383(c)(3) renders the judicial provisions of
           42 U.S.C. § 405(g) fully applicable to claims for SSI. In general, the legal standards
           to be applied are the same regardless of whether a claimant seeks DIB, to establish a
           “Period of Disability,” or to recover SSI. However, different statutes and regulations
           apply to each type of claim. Many times parallel statutes and regulations exist for DIB
           and SSI claims. Therefore, citations herein should be considered to refer to the
           appropriate parallel provision as context dictates. The same applies to citations of
           statutes or regulations found in quoted court decisions.

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           October 24, 2014, where she was represented by counsel, and a vocational expert

           (“VE”) testified. [R41-78].

                 Plaintiff subsequently amended her alleged onset date to June 11, 2013. [R276].

           On February 23, 2015, the ALJ denied Plaintiff disability benefits. [R23-33]. Plaintiff

           then filed an appeal with the Appeals Council (“AC”),4 which appeal was denied

           on July 28, 2016, making the ALJ’s decision the final decision of the Commissioner.

           [R1-6].

                 Plaintiff filed this action on September 26, 2016, seeking review of the

           Commissioner’s decision. [Doc. 1]. The answer and transcript were filed on June 9,

           2017. [Docs. 12-13]. On July 11, 2017, Plaintiff filed a brief in support of her petition

           for review of the Commissioner’s decision, [Doc. 16], and on August 7, 2017, the

           Commissioner filed a response in support of the decision, [Doc. 17], to which Plaintiff

           replied on August 21, 2017, [Doc. 18]. The matter is now before the Court upon the

           administrative record, and the parties’ pleadings and briefs,5 and it is accordingly ripe

           for review pursuant to 42 U.S.C. §§ 405(g) and 1383(c)(3).



                 4
                       With her appeal, Plaintiff submitted 152 pages of additional mental health
           records from Avita from 2009 through 2015. [R456-532].
                 5
                        Neither party requested oral argument. (See Dkt.).

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           II.      PLAINTIFF’S CONTENTIONS

                    Plaintiff’s brief claims that the ALJ made the following errors:

                    1.    The ALJ failed to fully and fairly develop the record;

                    2.    The AC improperly denied Plaintiff review; and

                    3.    The ALJ’s finding is not supported by substantial evidence.

           [Doc. 16 at 9-15].

           III.     STATEMENT OF FACTS

                    A.    Background

                    Plaintiff was born in November 1972 and was 36 years old on the alleged onset

           date. [R185]. Plaintiff completed high school. [R198]. Plaintiff previously worked

           as a dental hygienist and consultant, but stopped working on June 1, 2009. [R197-98].

           She alleged disability due to back and neck pain and mental illness. [R197].

                          B.     Lay Testimony

                    Plaintiff testified that she got an associates degree in the medical field and

           became a registered dental hygienist in 1987. [R49]. She testified that she worked as

           a dental hygienist from 1995 until 2009. [Id.]. She also testified that from 2000 to

           2003, she worked as a dental consultant which was “more of a sales based position for

           product that had to go into the offices and consulting based on their need to set up a

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           structured program from what they needed for their . . . hygienist program for treating

           patients.” [R50].

                 Plaintiff testified that she stopped working in 2009 because she had previously

           been working part-time but, after she began to work full-time due to an employee

           departure, she “started having situations” where she lost her temper, was late to work

           due to “getting up and the medications,” and having neck and back problems trying to

           do her job. [R53]. Plaintiff stated that, after an incident in which she lost her temper,

           the owner of the practice where she worked told her that they understood she had a

           mental illness, but that she “just can’t do this.” [Id.].

                 Plaintiff testified that her anxiety and depression would get triggered at work

           when she was not well rested, was late because of lack of rest and being medicated,

           heard children screaming in the waiting room, skipped lunch and hydration, or handled

           a large patient volume with few breaks due to the commission-based compensation

           structure. [R54-55].

                 Plaintiff explained that after the hygienist job, she took a phone-based job for 30-

            to 32-hours a week for five weeks. [R56]. She stated that the difficulty she

           experienced in that position was the pressure to make many calls. [Id.]. Plaintiff also

           testified that she worked in a retail position at a car dealership, but the owner was

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           concerned about her hands visibly shaking, and after she failed to make any sales

           working three and half days a week over five weeks, she was let go. [R57]. Plaintiff

           believed that she was unsuccessful in that position because she felt under pressure and

           had anxiety from remembering numbers and negotiating with customers. Plaintiff

           opined her condition has worsened since then. [R57-58]. Specifically, her anxiety and

           racing thoughts affected her sleep and she is depressed. [R58]. She testified that these

           conditions were exacerbated by financial stressors, a brief period of homelessness, and

           her father’s hospitalization. [R58-59].

                 Plaintiff testified that, on an average day, she wakes up around 9:30 or

           10:30 a.m., groggy from taking Trazodone6 to help her sleep. [R60-61]. She then eats;

           takes her medications; lists things to sell on eBay (to make money); does housework

           like light cleaning, vacuuming, mopping, and sweeping for short periods of time; tries

           to plan groceries and get meals ready; goes outside to spend time with animals in good

           weather; reads for short periods of time; watches television; goes online; and talks to

           her father and best friend on the phone about her anxiety. [R61-63]. She further

           testified that she can independently bathe, dress, and take care of her personal hygiene

                 6
                        Trazodone is a serotonin modulator typically used to treat depression.
           MedlinePlus, Trazodone, https://medlineplus.gov/druginfo/meds/a681038.html (last
           visited 9/4/18).

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           but, once a week, will go through a two-or three-day period where she does not, and

           this has gotten worse over the last year. [R62-63]. Plaintiff testified that she gets out

           of the house on a regular basis—running errands or seeing family twice a month—but

           is at home for a couple days at a time. [R63-64]. She testified that she no longer swims

           when she spends time with her family at the lake, due to her back and legs, and her

           mental health causes difficulties being with her mother, who also has untreated mental

           health issues. [R64-65]. Plaintiff confirmed that she can drive and has a valid driver’s

           license without restrictions. [R75].

                 Upon being questioned about whether she could do a job that involved sitting,

           simple, routine tasks, no high paced production aspects, and few interactions with

           others for forty hours a week, Plaintiff responded that she would have trouble getting

           up in the morning to get there on time, stay focused, and not become manic. [R66].

           Plaintiff testified that, in addition to grogginess, her medications cause her to shake

           (making it difficult to do things that require precision in her hands), upset her stomach,

           and cause nausea, dehydration, and headaches (due to Lexapro).7 [R67]

                 7
                          Lexapro (escitalopram) is used to treat depression and generalized anxiety
           disorder. It is in a class of antidepressants called selective serotonin reuptake inhibitors
           (SSRIs) and works by increasing the amount of serotonin in the brain. MedlinePlus,
           Escitalopram, https://medlineplus.gov/druginfo/meds/a603005.html (last visited
           9/4/18).

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                 Plaintiff’s attorney introduced additional medical records at her hearing that are

           in the record as an unsigned, undated medical source opinion questionnaire, [R43, 442].

           At the hearing, the ALJ noted the record was incomplete and, apparently Plaintiff’s

           attorney supplied her with the full record, as the ALJ referred to a brief medical

           narrative from Tamika Perkins, a counselor that Plaintiff testified she saw once or twice

           a month for about two years at Avita, where she was treated for a total of six years.

           [R44-45]; see also infra n.12. Plaintiff’s attorney also submitted a medical source

           opinion from Amanda Dutton. [R45]. He explained that Plaintiff would amend her

           onset date and the ALJ stated that she would not make a decision until she heard from

           the attorney regarding an amended onset date and reviewed “whatever post-hearing

           submissions he provides.” [R46].

                 C.     Medical Records

                        1.     Consultative Examinations

                 Consultative examiner Scott Duncan, Psy. D., evaluated Plaintiff on October 19,

           2012. [R405]. His examination involved a clinical and historical interview with

           Plaintiff, a mental status examination, and a review of eight pages of Disability

           Adjudication Services (“DAS”) records. [Id.]. Plaintiff reported that “she left her last

           job because they cut her hours and paid only commission per clients.” [R406]. She

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           reported seeing a psychiatrist and therapist consistently for the last seven years at Avita

           and her only psychiatric hospitalization was in 2002 for “severe clinical depression and

           suicide.” [Id.]. She reported that in 2003 she was diagnosed with bipolar disorder

           type II and is currently on Lithium,8 Wellbutrin,9 and Trazodone (at night), which she

           stated “overall work pretty well.” [Id.]. Plaintiff stated that “she reads a lot, does some

           minimal exercising, goes to the park, walks the dog, sells her belongings on eBay, and

           does phone consultations as they come in . . . [and] drives herself to her chiropractic

           and mental health appointments. She does not need assistance from others to meet her

           daily needs due to her mental health limitations.” [Id.].

                 On mental status examination, Dr. Duncan noted that Plaintiff had good eye

           contact, no unusual psychomotor movements, euthymic mood that was sad at times,

           adequate insight and judgment, unimpaired immediate and short-term memory,

           coherent and fluent speech, denied hallucinations or delusions, showed no signs of

           psychosis, and was cooperative and oriented to self, time and place. [R406-07].


                 8
                         Lithobid (lithium carbonate) is used to treat manic-depressive (bipolar)
           disorder. https://www.webmd.com/drugs/2/drug-6874/lithobid-oral/details (last visited
           9/4/18).
                 9
                        Bupropion, also known by the brand name Wellbutrin, is an antidepressant
           that works by increasing certain types of activity in the brain. MedlinePlus, Bupropion,
           https://medlineplus.gov/druginfo/meds/a695033.html (last visited 9/4/18).

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           Dr. Duncan diagnosed Plaintiff with bipolar disorder I, most recent episode, mild, and

           ascribed a GAF score10 of 70.11 [R407]. He further elaborated that she had “no

           significant    difficulty    effectively     maintaining      attention    and    sustained

           concentration . . . understanding simple directives effectively or . . . recalling them . . .,

           meeting expected job requirements consistently . . . carrying out directives . . . relating

           to people . . . Being able to understand basic directives effectively or carrying them out

           consistently.” [Id.]. He did not specify any work-related limitations. [R406-08].

                  On November 4, 2012, State Agency reviewing psychologist Vicki Prosser,

           Ph. D., evaluated the case at the reconsideration level. [R415]. She also found that

           Plaintiff had bipolar disorder I with the most recent episode depressed and mild.

           [R418]. In the functional limitations chart, she checked boxes indicating moderate

           limitations for restriction of activities of daily living; difficulties in maintaining social



                  10
                        The Global Assessment of Functioning (“GAF”) is a numeric scale
           (0 through 100) that considers psychological, social, and occupational functioning on
           a hypothetical continuum of mental health illness. Diagnostic and Statistical Manual
           of Mental Disorders 32-34 (4th ed., Text Revision, 2000) (“DSM-IV-TR”).
                  11
                        A GAF score between 61 and 70 indicates “[s]ome mild symptoms (e.g.,
           depressed mood and mild insomnia) OR some difficulty in social, occupational, or
           school functioning (e.g., occasional truancy, or theft within the household), but
           generally functioning pretty well, has some meaningful interpersonal relationships.”
           DSM-IV-TR 34.

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           functioning; and difficulties in maintaining concentration. [R425]. She indicated that

           there were no episodes of decompensation. [Id.]. Dr. Prosser opined that although

           Plaintiff’s hair was unruly and her affect sad, her mood was euthymic and she had good

           memory, adequate judgment, concentration, attention, and insight. [R427]. She

           concluded that Plaintiff “appears to have mild to moderate symptoms of a mood

           disorder . . . moderate limitations in daily living skills . . . social skills, and . . .

           attention/concentration/pace.” [Id.].

                 In the form for mental residual functional capacity assessment, Dr. Prosser noted

           that Plaintiff was “moderately limited” in the following abilities: understand and

           remember detailed instructions; carry out detailed instructions; maintain attention and

           concentration for extended periods; perform activities within a schedule, maintain

           regular attendance, and be punctual within customary tolerances; sustain an ordinary

           routine without special supervision; work in coordination with or proximity to others

           without being distracted by them; complete a normal workday and workweek without

           interruptions from psychologically based symptoms and to perform at a consistent pace

           without an unreasonable number and length of rest periods; interact appropriately with

           the general public; accept instructions and respond appropriately to criticism from

           supervisors; get along with coworkers or peers without distracting them or exhibiting

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           behavioral extremes; maintain socially appropriate behavior and adhere to basic

           standards of neatness and cleanliness; respond appropriately to changes in the work

           setting; and be aware of normal hazards and take appropriate precautions. [R429-30].

           Dr. Prosser found that Plaintiff had no significant limitations in the following abilities:

           remember locations and work-like procedures; understand and remember very short and

           simple instructions; carry out very short and simple instructions; make simple work-

           related decisions; ask simple questions or request assistance; travel in unfamiliar places

           or use public transportation; and set realistic goals or make plans independently of

           others. [Id.].

                 In the functional capacity assessment section, Dr. Prosser wrote: “The claimant

           appears capable of understanding and carrying out instructions and can maintain

           attention and concentration adequately for 2 hour periods in a 8-hour workday. The

           claimant can complete a normal work week without excessive interruptions from

           psychological symptoms, can relate appropriately to coworkers and supervisors in a

           limited basis and can adapt to a job setting.” [R431].




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                 Psychiatrist Karim Goral, M.D., completed a mental medical source statement

           on April 19, 2013. [R445].12 The form indicated that Plaintiff was mildly limited in

           all the listed areas except she was moderately limited in the following abilities:

           complete a normal workday and workweek without interruptions from psychologically

           based symptoms and to perform at a consistent pace without an unreasonable number

           and length of rest periods; respond appropriately to changes in the work setting; travel

           in unfamiliar places or use public transportation, [R446-47]. He also checked “yes” to

           questions about whether Plaintiff has a substantial loss of the ability to make simple

           work-related decisions, respond appropriately to supervision, coworkers and usual work

           situations and deal with the changes in a routine work setting. [R447-48].

                 On October 22, 2014, Plaintiff’s mental health counselor, Amanda Dutton,

           LAPC, (“Dutton”) filled out a medical source statement indicating the Plaintiff was

           markedly limited in the following abilities: remember locations and work-like

           procedures; understand and remember detailed instructions; carry out detailed

           instructions; maintain attention and concentration for extended period; perform

           activities within a schedule, maintain regular attendance, and be punctual within

           customary tolerances; sustain an ordinary routine without special supervision; work in

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                        However, this form was signed by Tamika Perkins (“Perkins”). [R448].

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           coordination with or proximity to others without being distracted by them; complete a

           normal workday and workweek without interruptions from psychologically based

           symptoms and to perform at a consistent pace without an unreasonable number and

           length of rest periods; accept instructions and respond appropriately to criticism from

           supervisors; get along with coworkers or peers without distracting them or exhibiting

           behavioral extremes; travel in unfamiliar places or use public transportation; and set

           realistic goals or make plans independently of others. [R451-52]. Dutton indicated that

           Plaintiff was moderately limited in the following abilities: interact appropriately with

           the general public; carry out very short and simple instructions; make simple work-

           related decisions; ask simple questions or request assistance; and maintain socially

           appropriate behavior and adhere to basic standards of neatness and cleanliness. [Id.].

           Dutton indicated Plaintiff was mildly limited in the abilities to understand and

           remember very short and simple instructions and be aware of normal hazards and take

           appropriate precautions. Dutton also indicated that Plaintiff had a substantial loss in

           the following abilities: understand, remember, and carry out simple instructions; make

           judgments that are commensurate with the functions of unskilled work, i.e., simple

           work related decisions; respond appropriately to supervision, co-workers and usual




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           work situations; deal with changes in a routine work setting. [R452-53]. Dutton also

           stated that the limitations she assessed began on October 26, 2008. [R453].

                    Dutton attached a letter to the form stating that, at Avita, “medical practitioners

           involved in care provide only medication and consultation and have minimal

           involvement in the extensive care of our clients.” [R454]. She stated that she was most

           familiar with Plaintiff, who

                    has not achieved stability in her symptoms since coming to our practice
                    on 2008, despite multiple medication and dosage changes. I am able to
                    visualize marked shaking in her hands as she experiences manic episodes
                    when she is in my office as well as significant periods of depression.
                    [She] experiences rapid cycling bipolar I disorder, marked by four or more
                    changes in mood per year, from manic to depressive symptoms and back
                    often, [Plaintiff] experiences a mixture of these symptoms, causing her to
                    have issues with sleep, memory, and other activities of daily living.

                    It is my professional opinion that these factors cause her marked limitation
                    in the ability to hold gainful employment in any field; . . . I have worked
                    with her in a one-on-one environment and have seen the distraction that
                    she encounters even when in this setting [and have] witnessed her marked
                    limitations in memory as they relate to simple tasks and directions.

           [Id.].

                          2.     Treatment Records

                    Neither party included any summary of facts indicating which medical records

           were relevant to the claims before this Court. Instead of attempting to reconstruct



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           hundred of pages of Plaintiff’s medical records—many of which preceded her amended

           alleged onset date—the Court will confine its summary to those records explicitly cited

           by the parties in their briefs.

                  Here, Plaintiff took issue with the ALJ’s omission of certain treatment records

           authored by Perkins, [see Doc. 16 at 9, n.6], and furnished to the ALJ after the hearing,

           in an October 31, 2014 letter by Plaintiff’s attorney. [R276-82]. This letter amended

           the alleged onset date and stated that it

                  was medically significant because her treatment records from Avita
                  demonstrate a clear decline in her mental wellbeing on that date. Enclosed
                  for your consideration are three consecutive treatment records excerpted
                  from her recently submitted records from, that facility. The dates of
                  treatment are May 21, 2013, June 11, 2013, and July 1, 2013. The
                  consecutive sections labeled Client Response to Intervention illustrate
                  a clear worsening of [Plaintiff]’s functioning between her May and June
                  sessions . . . .

           [R276 (emphasis in original)]. The attached records were authored by Perkins and the

           sections referenced by Plaintiff’s attorney pertain to Plaintiff’s subjective, self-reported

           symptoms. [R280, 282]. For example, on May 21, 2013, the Client Response to

           Intervention section states Plaintiff “was able to vent frustrations and agreed that she

           has to do more individual processing in the moment, was able to practice healthy ways




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           to communicate concerns with neighbors and understand the need for consistent

           boundaries.” [R278]. The June 11, 2013 record reflects that Plaintiff

                 reports that she has been depressed[] for the past wk, not wanting to get
                 up[] out of bed nor engage in any activities, discussed how she believes
                 that hromonally [sic] she is imbalanced as well, id’ed frustrations with not
                 being able to see an end of the struggle that she has been in for the past 2
                 yrs and id’ed that she feels and fears that she has become more cold and
                 guarded. When communicating about past marriage, Cn became tearful
                 but m[ade] connections to why she has not allowed others to get close to
                 her, id’ed that she will start investing more time into personal life and
                 explore what she really wants and if they are good goals or realistic. Also
                 admitted that she needs to connect to another support group in her
                 community again due to benefits she experienced before.

           [R280]. On July 1, 2013, Perkins wrote:

                 id’ed that she had been depressed due to current demands on her, id’ed
                 that she had spent several days in bed and not motivated to g[e]t up.
                 Admitted that she had not been working through sxs very well and id’ed
                 that she had plans on engaging in more activities with friends and family,
                 id’ed allowing her depression to take over due to annoyance of negativity
                 that she experiences. Reports that she will start tracking moods on
                 calendar to assist with id’ing triggers.

           [R282]. Notably, these records contain no mental status examinations or other

           objective tests, diagnoses, or opinions from Perkins about Plaintiff’s specific

           limitations. [Id.].

                 Plaintiff also takes issue with the AC’s refusal to remand the case in light of the

           additional mental health treatment records from Avita that she first submitted to the AC

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           on appeal of the ALJ’s decision. [Doc. 16 at 10 (citing [R456-605]), 13-14]. However

           she does not cite to a single one of these records to explain how, if at all, they

           warranted remand from the AC. [Id., passim].

                 D.     Vocational-Expert Testimony

                 The VE testified that Plaintiff’s past work as a dental hygienist and

           pharmaceutical sales representative was skilled and light duty. [R70]. The VE

           explained that Plaintiff’s knowledge of healthcare, medical, technological services,

           people skills, merchandising, retail, selling, ability to make judgments, and work with

           strict tolerances, was transferable. [Id.].

                 Using Plaintiff’s RFC as determined by Dr. Prosser, [R429-31], the ALJ asked

           the VE if Plaintiff could do her past relevant work if she was

                 capable of understanding and carrying out instructions and can maintain
                 attention and concentration adequately for two hour periods in an eight-
                 hour workday; can complete a normal workweek without excessive
                 interruptions from psychological symptoms; can relate appropriately to
                 coworkers and supervisors on a limited basis; and can adapt to a job
                 setting.

           [R70-71]. The VE responded that, under this hypothetical, Plaintiff could perform both

           of her past jobs. [R71].




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                 Then, using Dr. Duncan’s psychological consultative examination as a guide,

           [R405-08], the ALJ asked the VE if Plaintiff could do her past relevant work if she had

                 no significant difficulty with effectively maintaining attention and
                 sustained concentration. . . . [S]he would have no significant trouble
                 understanding simple directives effectively or have trouble recalling
                 them. . . . [N]o significant difficulty meeting expected job requirements
                 consistently due to her current level of emotional functioning. . . . [N]o
                 significant difficulty carrying out directives given her current level of
                 emotional functioning. . . . [No] significant difficulty relating to people
                 based on mental illness. . . . [No] significant difficulty being able to
                 understand basic directives effectively or carrying them out consistently.

           [R71-72]. The VE testified that given these limitations, Plaintiff could not perform a

           pharmaceutical sales job “to be safe, . . . because you’re talking about simple directions

           and stuff. And that’s an advanced sales skill.” [R72]. However, the VE testified that

           Plaintiff could still be a dental hygienist “because a lot of those tasks are repetitive in

           nature and so there’s very little job changes and so once the job is learned, it’s pretty

           rare that there’s going to be more complicated information given.” [Id.].

                 The ALJ used Perkins’ one-page assessment, [R442], as a guide, and asked the

           VE if Plaintiff could do her past relevant work if she had

                 a mildly limited ability to . . . remember locations and work-like
                 procedures, understand and remember very short and simple instructions,
                 understand and remember detailed instructions, carry out short and simple
                 instructions. . . . [M]aintain attention and concentration for extended
                 periods (the approximately two-hour segments between arrival and first

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                 break, lunch, second break, and departure), perform activities within a
                 schedule, maintain regular attendance, and be punctual within customary
                 tolerances, sustain[] an ordinary routine without special supervision, work
                 in coordination with or proximity to others without being unduly
                 distracted by them, make simple work related decisions, interact
                 appropriately with the general public, ask simple questions or request
                 assistance, accept instructions and respond appropriately to criticism from
                 supervisors, get along with coworkers or peers without unduly distracting
                 them or exhibiting behavioral extremes, maintain socially appropriate
                 behavior and adhere to basic standards of neatness and cleanliness, be
                 aware of normal hazards and take appropriate precautions, and set realistic
                 goals or make plans independently of others. . . [and] moderate
                 limitations13 . . . [in completing] a normal workday and workweek without
                 interruptions from psychologically based symptoms, perform at a
                 consistent pace without an unreasonable number and length of rest
                 periods, respond appropriately to changes in the work setting and travel
                 to unfamiliar places or use public transportation.

           [R73]. The VE responded that there “was a little conflict between the mild and

           moderate” but “if we take all of that as a whole, then past relevant work would be

           eliminated as well as competitive employment due to unable to complete a workweek.”

           [R74-75].

                 Lastly, the ALJ, using Dutton’s October 2014 letter as a guide, asked the VE if

           Plaintiff could perform past work with


                 13
                        The ALJ clarified that “[m]oderately limited is an impairment which
           seriously interferes with and in combination with one or more other restrictions
           assessed may preclude the individual’s ability to perform the designated activity on a
           regular and sustained basis.” [R72].

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                   marked14 limitations . . . [in the] . . . ability to remember locations and
                   work-like procedures, understand and remember detailed instructions,
                   carry out detailed instructions, maintain attention and concentration for
                   extended periods, be punctual, and maintain regular attendance within
                   customary tolerances, sustain a work -- an ordinary routine without
                   special supervision, work in coordination with others without being
                   unduly distracted by them, complete a normal workday and workweek
                   without interruptions from psychologically based symptoms, accept
                   instructions and respond appropriately to criticism.

           [R76-77]. The VE responded that these limitations would preclude past relevant work.

           [R77].

           IV.     ALJ’S FINDINGS OF FACT

                   The ALJ made the following findings of fact:

                   1.    The claimant meets the insured status requirements of the
                         Social Security Act through December 31, 2014.

                   2.    The claimant has not engaged in substantial gainful activity
                         since June 1, 2013, the amended alleged onset date
                         (20 CFR 404.1571 et seq., and 20 CFR 416.971 et seq.).

                   3.    The claimant has the following severe impairments: bipolar
                         disorder I and histrionic personality disorder
                         (20 CFR 404.1520(c) and 20 CFR 416.920(c)).

                   ...

                   14
                         The ALJ clarified that “marked for purposes of this hypothetical means
           that it would preclude the person’s ability to function independently, appropriately and
           effectively in the designated area on a regular and sustained basis eight hour a day, five
           days a week or on an equivalent schedule.” [R77].

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                4.     The claimant does not have an impairment or combination
                       of impairments that meets or medically equals the severity
                       of one of the listed impairments in 20 CFR Part 404,
                       Subpart P, Appendix 1 (20 CFR 404.1520(d), 404.1525,
                       404.1526, 416.920(d), 416.925, and 416.926).

                ...

                5.     After careful consideration of the entire record, the
                       undersigned finds that the claimant has the residual
                       functional capacity to perform a full range of work at all
                       exertional levels but with the following non-exertional
                       limitations: the claimant appears capable of understanding
                       and carrying out instructions and can maintain attention and
                       concentration adequately for 2 hour period in an 8-hour
                       workday. The claimant can complete a normal workweek
                       without excessive interruption from psychological
                       symptoms, can relate appropriately to coworkers and
                       supervisors on a limited basis and can adapt in a job setting.

                ...

                6.     The claimant is capable of performing past relevant work as
                       a dental hygienist and pharmaceutical sales representative.
                       This work does not require the performance of work-related
                       activities precluded by the claimant’s residual functional
                       capacity (20 CFR 404.1565 and 20 CFR 416.965).

                7.     The claimant has not been under a disability, as defined in
                       the Social Security Act, from June 11, 2013, through the date
                       of this decision (20 CFR 404.1520(f) and
                       20 CFR 416.920(f)).

           [R25-33].



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                 In concluding that Plaintiff’s impairments did not equal a listing, the ALJ found

           that Plaintiff had moderate difficulties in social functioning, concentration, persistence,

           pace, and activities of daily living, but no periods of decompensation. [R27]. The ALJ

           relied upon the opinion of Dr. Prosser, whose report showed that Plaintiff could drive;

           take care of herself; cook simple meals; perform light chores with encouragement;

           needed reminders for medications; did not keep track of her finances when manic;

           made friends easily, but did not keep them for long due to her impatience, arguments,

           and mood swings; had poor concentration; had difficulty following instructions; lacks

           focus; and uses poor judgment. [Id.]

                 The ALJ accorded significant weight to “the medical assessments and opinions

           of Dr. Duncan–who found Plaintiff had ‘no significant difficulty effectively

           maintaining attention and sustained concentration . . . understanding simple directives

           effectively or . . . recalling them . . . meeting expected job requirements

           consistently . . . carrying out directives’–because it is in alignment with the amended

           alleged onset date of disability and the Disability Determination Services (DDS)

           opinions.” [R30]. The ALJ also accorded significant wright to Dr. Prosser because

           “she provided specific reasons for her opinions about the claimant’s impairments

           showing that the opinions were grounded in the evidence in the case record” and

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           “appear to be supported by the medical evidence of record from the alleged onset date

           forward.” [R32].

                 The ALJ accorded lesser weight to Dutton’s medical source statement

           concerning the severity of Plaintiff’s mental impairment—that opined Plaintiff “was

           markedly limited in her ability to remember work-like procedures; understand,

           remember, and carryout detailed instructions; maintain attention and concentration for

           extended periods; perform activities within a schedule, maintain regular attendance, and

           complete a normal workday and workweek without interruptions from psychologically

           based symptoms, and to perform at a consistent pace without an unreasonable number

           and length of rest periods . . . demonstrated a markedly limited ability to get along with

           coworkers, peers or supervisors . . . demonstrated a markedly limited ability to hold

           gainful employment in any field”—“because the remainder of the objective

           medical evidence of record does not support it for the period before the undersigned.”

           [R30-31].

                 The ALJ accorded no weight to Dr. Goral’s opinions concerning the severity of

           Plaintiff’s mental impairment—who opined that Plaintiff “demonstrates mild

           limitations in her ability to understand, remember and carryout short and detailed

           instructions; maintain attention and concentration for extended periods; interact with

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           the general public and get along with coworkers and peers . . . demonstrates moderate

           limitations in her ability to respond appropriately to changed in the work setting, travel

           in unfamiliar places or to use public transportation”—“because they are internally

           inconsistent.” [R31]. For example, the ALJ noted that Dr. Goral indicated mild to

           moderate level of mental health difficulty, but concluded that Plaintiff had substantial

           mental health limitations in her ability to work, and cited that his first contact with

           Plaintiff was in 2007. [Id.].

                 The ALJ also found that Plaintiff’s “testimony is not entirely consistent with a

           finding of disability symptoms” because her daily activities were not limited to the

           extent one would expect given her complaints of disabling symptoms and limitations.

           [R32].   For example, the ALJ noted that Plaintiff reported to the consultative

           psychologist that she reads a lot, does minimal exercise, goes to the park, walks her

           dog, sells things on eBay, does phone consultations as they come in, and reported that

           she was working part-time until her hours and pay were cut (rather than that her mental

           disability interfered with her work). [R32].

                 The ALJ also noted that there was “no additional treatment . . . after the alleged

           onset date . . . [and that] evidence received in the record after the reconsideration

           determination did not provide any new or material information that would alter any

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           findings about the severity of the claimant’s alleged impairments.” [R32]. The ALJ

           also found that although Plaintiff has “some mental impairments . . . this does not

           preclude routine, unskilled work activity and performance of repetitive tasks.” [Id.].

           V.     STANDARD FOR DETERMINING DISABILITY

                  An individual is considered disabled for purposes of disability benefits if he is

           unable to “engage in any substantial gainful activity by reason of any medically

           determinable physical or mental impairment which can be expected to result in death

           or which has lasted or can be expected to last for a continuous period of not less than

           12 months.”     42 U.S.C. §§ 423(d)(1)(A), 1382c(a)(3)(A).         The impairment or

           impairments must result from anatomical, psychological, or physiological abnormalities

           which are demonstrable by medically accepted clinical or laboratory diagnostic

           techniques and must be of such severity that the claimant is not only unable to do

           previous work but cannot, considering age, education, and work experience, engage in

           any other kind of substantial gainful work that exists in the national economy.

           42 U.S.C. §§ 423(d)(2)-(3), 1382c(a)(3)(B), (D).

                  The burden of proof in a Social Security disability case is divided between the

           claimant and the Commissioner. The claimant bears the primary burden of establishing

           the existence of a “disability” and therefore entitlement to disability benefits.

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           See 20 C.F.R. §§ 404.1512(a), 416.912(a). The Commissioner uses a five-step

           sequential process to determine whether the claimant has met the burden of proving

           disability.   See 20 C.F.R. §§ 404.1520(a), 416.920(a); Doughty v. Apfel,

           245 F.3d 1274, 1278 (11th Cir. 2001); Jones v. Apfel, 190 F.3d 1224, 1228

           (11th Cir. 1999). The claimant must prove at step one that he is not undertaking

           substantial gainful activity. See 20 C.F.R. §§ 404.1520(a)(4)(i), 416.920(a)(4)(i). At

           step two, the claimant must prove that he is suffering from a severe impairment or

           combination of impairments that significantly limits his ability to perform basic

           work-related activities. See 20 C.F.R. §§ 404.1520(a)(4)(ii), 416.920(a)(4)(ii). At

           step three, if the impairment meets one of the listed impairments in Appendix 1 to

           Subpart P of Part 404 (Listing of Impairments), the claimant will be considered

           disabled without consideration of age, education, and work experience.

           See 20 C.F.R. §§ 404.1520(a)(4)(iii), 416.920(a)(4)(iii). At step four, if the claimant

           is unable to prove the existence of a listed impairment, he must prove that his

           impairment        prevents      performance        of    past    relevant      work.

           See 20 C.F.R. §§ 404.1520(a)(4)(iv), 416.920(a)(4)(iv). At step five, the regulations

           direct the Commissioner to consider the claimant’s residual functional capacity, age,

           education, and past work experience to determine whether the claimant can perform

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           other work besides past relevant work.           See 20 C.F.R. §§ 404.1520(a)(4)(v),

           416.920(a)(4)(v). The Commissioner must produce evidence that there is other work

           available in the national economy that the claimant has the capacity to perform.

           Doughty, 245 F.3d at 1278 n.2. To be considered disabled, the claimant must prove an

           inability to perform the jobs that the Commissioner lists. Id.

                   If at any step in the sequence a claimant can be found disabled or not disabled,

           the     sequential      evaluation      ceases     and     further     inquiry     ends.

           See 20 C.F.R. §§ 404.1520(a)(4), 416.920(a)(4). Despite the shifting of burdens at

           step five, the overall burden rests on the claimant to prove that he is unable to engage

           in any substantial gainful activity that exists in the national economy. Doughty,

           245 F.3d at 1278 n.2; Boyd v. Heckler, 704 F.2d 1207, 1209 (11th Cir. 1983),

           superseded by statute on other grounds by 42 U.S.C. § 423(d)(5), as recognized in

           Elam v. R.R. Ret. Bd., 921 F.2d 1210, 1214 (11th Cir. 1991).

           VI.     SCOPE OF JUDICIAL REVIEW

                   A limited scope of judicial review applies to a denial of Social Security benefits

           by the Commissioner. Judicial review of the administrative decision addresses three

           questions: (1) whether the proper legal standards were applied; (2) whether there was

           substantial evidence to support the findings of fact; and (3) whether the findings of fact

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           resolved the crucial issues. Washington v. Astrue, 558 F. Supp. 2d 1287, 1296

           (N.D. Ga. 2008); Fields v. Harris, 498 F. Supp. 478, 488 (N.D. Ga. 1980). This Court

           may not decide the facts anew, reweigh the evidence, or substitute its judgment for that

           of the Commissioner. Dyer v. Barnhart, 395 F.3d 1206, 1210 (11th Cir. 2005). If

           substantial evidence supports the Commissioner’s factual findings and the

           Commissioner applies the proper legal standards, the Commissioner’s findings are

           conclusive. Lewis v. Callahan, 125 F.3d 1436, 1439-40 (11th Cir. 1997); Barnes v.

           Sullivan, 932 F.2d 1356, 1358 (11th Cir. 1991); Martin v. Sullivan, 894 F.2d 1520, 1529

           (11th Cir. 1990); Walker v. Bowen, 826 F.2d 996, 999 (11th Cir. 1987) (per curiam);

           Hillsman v. Bowen, 804 F.2d 1179, 1180 (11th Cir. 1986) (per curiam); Bloodsworth

           v. Heckler, 703 F.2d 1233, 1239 (11th Cir. 1983).

                 “Substantial evidence” means “more than a scintilla, but less than a

           preponderance.” Bloodsworth, 703 F.2d at 1239. It means such relevant evidence as

           a reasonable mind might accept as adequate to support a conclusion, and it must be

           enough to justify a refusal to direct a verdict were the case before a jury. Richardson

           v. Perales, 402 U.S. 389, 401 (1971); Hillsman, 804 F.2d at 1180; Bloodsworth,

           703 F.2d at 1239. “In determining whether substantial evidence exists, [the Court]

           must view the record as a whole, taking into account evidence favorable as well as

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           unfavorable to the [Commissioner’s] decision.” Chester v. Bowen, 792 F.2d 129, 131

           (11th Cir. 1986) (per curiam). Even where there is substantial evidence to the contrary

           of the ALJ’s findings, the ALJ decision will not be overturned where “there is

           substantially supportive evidence” of the ALJ’s decision.          Barron v. Sullivan,

           924 F.2d 227, 230 (11th Cir. 1991). In contrast, review of the ALJ’s application of legal

           principles is plenary. Foote v. Chater, 67 F.3d 1553, 1558 (11th Cir. 1995); Walker,

           826 F.2d at 999.

                 Also, a “court must consider evidence not submitted to the [ALJ] but considered

           by the Appeals Council when that court reviews the Commissioner’s final decision.”

           Ingram v. Comm’r of Soc. Sec. Admin., 496 F.3d 1253, 1258 (11th Cir. 2007). In

           reviewing this additional evidence, the court must evaluate whether this “new evidence

           renders the denial of benefits erroneous.” Id. at 1262. This means that the court must

           “determine whether the Appeals Council correctly decided that the ‘[ALJ’s] action,

           findings, or conclusion is [not] contrary to the weight of the evidence currently of

           record.’ ” Id. at 1266-67 (quoting 20 CFR 404.970(b)).




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           VII. CLAIMS OF ERROR

                 A.     Whether the ALJ developed a full and fair record

                        1.     Nurse Perkins’ Treatment Notes and Assessment

                 First, Plaintiff claims that the ALJ erred “by not ascertaining the identity of

           ‘Tamika’ –nor of her specific relationship to Plaintiff. As the record disclosed, she was

           Tamika Perkins, LAPC, one of Plaintiff’s treating mental health counselors at Avita.”

           [Doc. 16 at 9]. These records were submitted to the ALJ after the hearing and Plaintiff

           contends “it is clear that the ALJ did not connect these records with the assessment

           form . . . as the decision noted no treatment after June 13, 2013, yet these records had

           a report from July 1, 2013.” [Id. at 9, n.6].

                 The medical source opinion questionnaire, allegedly authored by Dr. Goral, but

           signed by Perkins, [R445-48], was introduced for the first time at the hearing, [R442].

           Perkins’ treatment notes were submitted on October 31, 2014 in a letter by Plaintiff’s

           attorney, who stated that the records “demonstrate a clear decline in her mental

           wellbeing . . . The dates of treatment are May 21, 2013, June 11, 2013, and July 1,

           2013. The consecutive sections labeled Client Response to Intervention illustrate a

           clear worsening of [Plaintiff’s] functioning between her May and June sessions. . . .”

           [R276]. During the hearing, upon questioning by the ALJ, Plaintiff could not recall

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           Tamika’s last name and identified her as her counselor, who she saw once or twice a

           month for about two years at Avita, where she was treated for a total of six years.

           [R44-45]. The ALJ noted that the questionnaire was “internally inconsistent.” [R74].

           Nevertheless, the ALJ used the questionnaire—which she referred to as “the one from

           Tamika”—as the basis for a hypothetical posed to the VE. [R72]. Later, the ALJ’s

           decision referenced the questionnaire as Dr. Goral’s opinion, and, again, noted that she

           would give it no weight due to its internal inconsistencies. [R32]. The ALJ did not

           reference Perkins’ treatment records in the decision and stated that there were no

           records of Plaintiff’s treatment after her alleged onset date. [Id.]. Therefore, the ALJ

           erred by stating that there were no records of treatment after the alleged onset date.

                 The question for the Court, then, is whether this error is harmless. See Walker

           v. Bowen, 826 F.2d 996, 1002 (11th Cir. 1987) (applying harmless error analysis in

           Social Security cases); Diorio v. Heckler, 721 F.2d 726, 728 (11th Cir. 1983) (applying

           harmless error analysis where the ALJ made an incorrect statement of fact). Generally,

           an error is harmless in a Social Security case if it “do[es] not affect the ALJ’s

           determination that a claimant is not entitled to benefits.” Young v. Astrue, No. 8:09-cv-

           1056, 2010 WL 4340815, *4 (M.D. Fla. Sept. 29, 2010).




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                 The ALJ clearly considered and weighed the medical questionnaire and

           ultimately rejected it as internally inconsistent.       [R32].    Plaintiff makes no

           argument—and the Court cannot discern any—whereby Perkins’ treatment notes dispel

           this internal inconsistency or alter the overall balance of the medical evidence

           supporting Plaintiff’s disability claims. Indeed, Perkins’ treatment notes are merely

           another instance of Plaintiff’s medical providers documenting her subjective symptoms

           and do not include any objective assessments, testing, or diagnoses. [R277-82]. Even

           if they did constitute an opinion from a medical provider, Plaintiff admits that Perkins

           is not an acceptable medical source and her opinion would warrant no special weight.

           [See Doc. 16 at 10]. See 20 C.F.R. § 404.1502(a)(1)-(6) (listing acceptable medical

           sources). Moreover, the ALJ’s failure to explicitly discuss Perkins’ treatment notes is

           not reversible error as “there is no rigid requirement that the ALJ specifically refer to

           every piece of evidence in his decision, so long as the ALJ’s decision, as was not the

           case here, is not a broad rejection which is ‘not enough to enable [the district court or

           this Court] to conclude that [the ALJ] considered her medical condition as a whole.’ ”

           Dyer, 395 F.3d at 1211 (quoting Foote, 67 F.3d at 1561) (emphasis in Dyer).

           Consequently, although the ALJ inaccurately found that Plaintiff had no treatment after




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           her amended alleged onset date and omitted any mention of Perkins’ treatment notes,

           this was a harmless error.

                        2.     Nurse Dutton’s Notes and Assessment

                 Plaintiff next contends that because there were no records from Dutton in the file

           (which were later submitted to the AC), the ALJ “was under the mistaken impression

           that Plaintiff was not under any mental health treatment after her (amended) onset date”

           and gave significant weight to Dr. Prosser. [Doc. 16 at 10]. Plaintiff submits that, if

           these records had been considered by the ALJ, they should have been given greater

           weight because they are treating sources. [Id.]. Plaintiff further submits that, because

           the VE testified that the opinions of Dutton and Perkins would lead to a conclusion that

           Plaintiff could not work, consideration of them is crucial. [Id.]. Plaintiff also argues

           that, because the later-submitted records from Avita span six years, they provide a

           longitudinal perspective to evaluate mental impairments, as per the Commissioner’s

           regulations. [Doc. 16 at 11 (citing 20 C.F.R. § 404, Subpart P, App. 1 § 12.00(D)(2))].

           Plaintiff argues that, by not having her years of mental health treatment records before

           her, the ALJ was unable to give proper weight to Plaintiff’s treating providers and that

           it was the ALJ’s responsibility to “make every reasonable effort to develop” a complete



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           medical history. [Id. at 12 (citing Rease v. Banhart, 422 F. Supp. 2d. 1334 (N.D. Ga.

           2006))].

                 The Commissioner responds that, as Plaintiff was represented, the ALJ had no

           special duty to develop the record and, assuming that she had, Plaintiff must show

           prejudice in order to establish that her due process rights were violated to a degree that

           requires remand. [Doc. 17 at 5 (citing Graham v. Apfel, 129 F.3d 1420, 1422-23

           (11th Cir. 1997); Sims v. Apfel, 530 U.S. 103, 111 (2000); Cowart v. Schweiker,

           662 F.2d 731, 735 (11th Cir. 1981); Ellison v. Banhart, 355 F.3d 1272, 1276

           (11th Cir. 2003); Bowen v. Yuckert, 482 U.S. 137, 146 n.5 (1987))]. Moreover, the

           Commissioner adds, Plaintiff never requested that the ALJ obtain additional medical

           records, was given additional time to obtain records, and cannot show prejudice

           because the AC had the additional records but nonetheless denied Plaintiff’s request

           for review on the grounds that substantial evidence supported the ALJ’s

           decision. [Id. at 5-6]. Plaintiff replies that she fulfilled her duty to inform the ALJ of

           her records, but it was the ALJ’s duty to obtain them. [Doc. 18 at 2].

                 Ultimately, the burden is upon Plaintiff to show she is disabled.

           20 C.F.R. § 404.1512(a)(1); Doughty, 245 F.3d at 1278 n.2; Boyd, 704 F.2d at 1209.




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           The ALJ’s only burden with respect to obtaining or seeking Plaintiff’s existing medical

           records is to:

                 make an initial request for evidence from your medical source or entity
                 that maintains your medical source’s evidence, and, at any time between
                 10 and 20 calendar days after the initial request, if the evidence has not
                 been received, we will make one follow-up request to obtain the medical
                 evidence necessary to make a determination.

           20 C.F.R. §§ 404.1512(b)(1)(i); 416.912(b)(1)(i). Plaintiff does not allege that the

           ALJ failed to do comply with these regulatory requirements. [Doc. 16 passim]. Unlike

           the plaintiff in Rease, who was proceeding pro se and specifically requested that the

           ALJ subpoena medical records from his doctors, Plaintiff does not allege that the ALJ

           failed to obtain records she specifically requested. Compare [Doc. 16] and Rease,

           422 F. Supp. 2d at 1373. As such, there was no error in the ALJ’s failure to proactively

           seek and obtain additional medical records, including Dutton’s records.

                 Accordingly, the Court concludes that Plaintiff has not shown reversible error

           on this enumeration.

                 B.     Whether the AC properly denied review

                 Plaintiff argues that because “it was an obvious abuse of discretion by the ALJ

           not to have obtained [the additional mental health records submitted to the AC]; and

           thus, her decision was based upon an error of law and lacking in substantial evidence.

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           Review should have been granted and the case remanded to the ALJ for consideration

           of the entire record.” [Doc. 16 at 13-14 (citing Keeton v. Dep’t of Health & Human

           Servs., 21 F.3d 1064, 1066 (11th Cir. 1994); Flowers v. Comm’r Soc. Sec.,

           441 Fed. Appx. 735, 745 (11th Cir. Sept. 30, 2011))].

                 The Commissioner responds that the AC may only consider evidence that is new,

           material, relates to the period on or before the date of the ALJ hearing, and if the ALJ’s

           decision is “contrary to the weight of the evidence currently of record.” [Doc. 17 at 7

           (quoting Ingram, 496 F.3d at 1261)). Here, the Commissioner submits, the AC

           “articulated a legally sufficient reason for denying review” and it need not “provide a

           detailed written explanation concerning newly submitted evidence in its notice denying

           review.” [Id. at 7-8 (citing Mitchell v. Comm’r Soc. Sec., 771 F.3d 780, 785

           (11th Cir. 2014); Ingram, 496 F.3d at 1262; Parks ex rel. D.P. v. Comm’r Soc. Sec.,

           783 F.3d 847, 852 (11th Cir. 2015))].

                 The law is well settled in this circuit that a legal claim or argument that has not

           been briefed is deemed abandoned and that mentioning an issue without providing

           specific argument in support is not sufficient. Dawkins v. Glover, 308 Fed. Appx. 394,

           395 (11th Cir. Jan. 23, 2009); Seay v. United States, 166 Fed. Appx. 422, 423

           (11th Cir. Jan. 26, 2006) (holding that appellant’s mere statement that district court

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           improperly dismissed his complaint on res judicata grounds without any substantive

           argument in support amounted to abandonment of his claims even though he argued the

           merits of his underlying claims). Thus, issues only raised in passing and not clearly

           raised are deemed abandoned. Ostborg v. Comm’r of Soc. Sec., 610 Fed. Appx. 907,

           913 (11th Cir. May 29, 2015) (“Abandonment can occur when an appellant only makes

           passing reference to a claim.”) (citing Sapuppo v. Allstate Floridian Ins. Co.,

           739 F.3d 678, 681-82 (11th Cir. 2014) (explaining that appellant abandoned a claim

           when he did not address holdings of district court other than to make passing references

           to the holdings without advancing any arguments or citing any authorities to establish

           they were in error)).

                 Plaintiff’s bald assertion, without more, that the AC should have reviewed and

           remanded the case due to the ALJ’s “obvious abuse of discretion . . . not to have

           obtained” the additional mental health records submitted to the AC and assertion that

           “her decision was based upon an error of law and lacking in substantial evidence”

           constitutes abandonment or waiver of this issue, [Doc. 16 at 13-14], and is insufficient

           to present an issue before this Court for review.

                 Moreover, even if the Court interprets Plaintiff’s argument to contend that the

           AC erred in denying review without showing “in its written denial that it has

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           adequately evaluated the new evidence,” [id. at 14-15 (citing Epps v. Harris,

           624 F.2d 1267, 1273 (5th Cir. 1980))], Plaintiff has not shown reversible error. Unlike

           an ALJ, the AC is not required to make specific findings of fact when it denies review.

           It need only “consider the additional evidence” that is new, material, and

           chronologically relevant. The AC stated that it considered the new evidence that

           Plaintiff submitted, and it added the evidence to the record. [R1-6]. The Appeals

           Council was not required to do more. When the Appeals Council accepts additional

           evidence, considers the evidence, and then denies review, it is not “required to provide

           a detailed rational for denying review.” Mitchell v. Comm’r, Soc., Sec. Admin.,

           771 F.3d 780, 784 (11th Cir. 2014); see also Parks ex rel. D.P., 783 F.3d at 852, 853

           (quoting 20 C.F.R. § 416.1470(b) and distinguishing Epps because “the decision in

           Epps arose in a different procedural context, where the Appeals Council affirmed the

           decision of the administrative law judge.”). As a result, the AC’s failure to explain its

           denial of review was not error.

                 Therefore, the question is whether the additional records before the AC were

           “new, material, and relate . . . to the period on or before the date of the hearing

           decision, and there is a reasonable probability that the additional evidence would

           change the outcome of the decision[.]” 20 C.F.R. § 404.970(b). The Commissioner

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           argues that the new records would not change the outcome of the ALJ’s decision

           because they were consistent with it. [Doc. 17 at 11]. First, the Commissioner notes

           that the additional records Plaintiff submitted for treatment between 2009 and 2011

           predate her alleged onset date and are consistent with the other records, as they show

           diagnoses of bipolar and histrionic personality disorder, depressed mood, generally

           normal mental status examinations, and medication for mental disorders. [Id. at 12

           (citing [R280-82, 299-337])].

                 Second, the Commissioner points to medical records authored by Elaine Jividon,

           ARNP, who performed a psychiatric evaluation of Plaintiff in November 2013 and

           treated her through April 2015. [Id. at 9-10]. In the psychiatric evaluation, Plaintiff

           reported mild depression and less motivation but, on examination, was alert, oriented,

           cooperative, and with normal speech, affect, thought process, and thought content, but

           some fidgeting and an anxious and irritable mood. [Id. at 9 (citing [R501-04])]. Nurse

           Jividon recommended that Plaintiff continue with her medications and diagnosed her

           with bipolar disorder and histrionic personality disorder. [Id. (citing [R483-84, 504])].

           In May 2014, Plaintiff reported to Nurse Jividon that her mood was not the best, she

           was trying to find side job, and was socially active. [Id. (citing [R512])]. Other than

           a depressed mood and over-inclusive speech, Plaintiff’s mental status examination was

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           normal and no changes were made to her medication. [Id. (citing [R512-14])]. While

           Plaintiff reported increased agitation and had an anxious mood and restless, rapid

           speech in July 2014, Nurse Jividon’s mental status examination findings were still

           normal and she prescribed Lexapro. [Id. at 9-10 (citing [R522-24)]]. Two months

           later, Plaintiff reported improvement, sleeping well and not experiencing erratic

           behavior or moos instability with normal mental status examination findings except

           over-inclusive speech. [Id. at 10 (citing [R482-83])]. Her Lexapro dosage was

           increased. [Id. (citing [R483])]. In additional psychiatric evaluations by Nurse Jividon

           in November 2014 and April 2015, Plaintiff reported that she was doing pretty well,

           medication was “life-changing,” she could deal with situations, her anxiety was much

           improved, and her mood was better. [Id. (citing [R492, 542, 552])]. Mental status

           examination findings were again normal except for over-inclusive speech and

           medication continued. [Id. (citing [R492-93, 542-43, 552-53])].

                 The Commissioner notes that the new records showed that Plaintiff had periodic

           counseling with Dutton, but treatment notes reflected that she was alert, oriented,

           cooperative, well groomed, had full range affect, was able to identify stressors and

           prioritize problems, was learning to use coping techniques and, by the end of 2014, was

           managing stressors well and demonstrating healthy coping skills. [Id. at 11 (citing

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           [R459, 461, 463, 465, 467, 469, 471, 473, 475, 477, 479])]. In June 2014, Plaintiff

           reported unsteady employment with consulting work and seeking stable employment.

           [Id. (citing [R459, 461])]. Moreover, the Commissioner noted, since Perkins is not an

           acceptable medical source, it was not error for the ALJ to accord her opinion less

           weight. [Id. at 14].

                 Plaintiff’s reply does not address the Commissioner’s characterization of the

           records newly before the AC or even cite specifically to those records at all in support

           of her claims. [See Docs. 16, 18]. As a result, Plaintiff has abandoned this claim.

           See Jones v. Bank of Am., N.A., 564 Fed. Appx. 432, 434 (11th Cir. Apr. 25, 2014)

           (“ ‘[A] party’s failure to respond to any portion or claim in a motion indicates such

           portion, claim or defense is unopposed.’          Kramer v. Gwinnett Cnty., Ga.,

           306 F. Supp. 2d 1219, 1221 (N.D. Ga. 2004). Also, ‘[w]hen a party fails to respond to

           an argument or otherwise address a claim, the Court deems such argument or claim

           abandoned.’     Hudson v. Norfolk S. Ry. Co., 209 F. Supp. 2d 1301, 1324

           (N.D. Ga. 2001).”).

                 Even if she had not abandoned the claim, she has not demonstrated reversible

           error. Instead of addressing the AC’s consideration of the evidence, she contests the

           ALJ’s weighing of the record; a task that, while reviewable by the AC, is not

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           analyzable under 20 C.F.R. § 404.970(b). Specifically, Plaintiff responds that the ALJ

           could have given greater weight to Dutton under SSR 06-03p due to the length of

           treatment, consistency of her opinion with other evidence in the record, and how well

           she explained that opinion. [Doc. 18 at 2]. Plaintiff also notes that Dr. Duncan’s

           exam–to which the ALJ accorded significant weight–was conducted before Plaintiff’s

           alleged onset date and, moreover, because it was a one-time exam, is not a longitudinal

           indicator of her bi-polar condition, which occurs in cycles. [Id.]. Similarly, Plaintiff

           submits that Dr. Prosser’s opinion was not based on all mental evidence. [Id.].

                 In regards to Dutton’s opinion, while SSR 06-03p allows the ALJ to use the

           20 C.F.R. § 404.1527(d) factors to evaluate sources who are not acceptable medical

           sources, it does not mandate that the ALJ do so. In determining the weight afforded to

           “other medical evidence,” an “ALJ has more discretion and is permitted to consider any

           inconsistencies found within the record.” Raney v. Barnhart, 396 F.3d 1007, 1010

           (8th Cir. 2005) (citation omitted); Walters v. Comm’r of Social Sec., 127 F.3d 525, 530

           (6th Cir. 1997) (finding the ALJ has the discretion to determine the appropriate weight

           to accord the opinion a non-medical “other source”); see also Taylor v. Astrue,

           899 F. Supp. 2d 83, 88 (D. Mass. 2012) (the ALJ had discretion to conclude that

           plaintiff’s “other source” evidence should not be afforded great weight); Pace v.

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           Colvin, No. 16-CV-00007-RBJ, 2016 WL 7383404, at *3 (D. Colo. Dec. 21, 2016)

           (§ 1527(d) factors can be applied to “other source” opinions at ALJ’s discretion).

           Cf. Harry v. Colvin, No. 1:15-CV-01514-JFK, 2016 WL 4708009, at *8 (N.D. Ga.

           Sept. 8, 2016) (noting the best practice is for the ALJ to consider evidence from other

           sources if probative of severity of impairment and functional limitation).

                 Here, the ALJ explained that she gave lesser weight to Dutton because her

           opinion was not supported by the objective evidence in the record. [R31]. Plaintiff

           offers no citation to any objective medical evidence contained in the record–either

           before the ALJ or presented to the AC–to contradict the ALJ’s findings that Dutton’s

           opinion was not supported by the objective medical evidence. [Docs. 16 and 18

           passim]. Even if Dutton’s treatment records contained objective medical evidence

           supporting her opinion, because they were never before the ALJ, the ALJ’s reasons for

           discounting her opinion remain valid.

                 In regard to the opinions rendered by Doctors Duncan and Prosser, while more

           recent opinions from those with a longitudinal perspective would have been preferable,

           such records were not before the ALJ, making these consultative opinions the only

           opinions in the record from acceptable medical sources. Although there is, allegedly,

           an opinion from Dr. Goral, it was not signed by him but by Ms. Perkins, who is not an

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           acceptable medical source.        In fact, the ALJ explained that these “treating

           opinions . . . are either difficult to authenticate or internally inconsistent.”

           [R32]. Plaintiff has not suggested that the ALJ should have recontacted Dr. Goral or

           Ms. Perkins to resolve this inconsistency, nor has she pointed to any requirement

           mandating the same. As a result, the ALJ relied on the only acceptable medical

           opinions she had; those of the consultative examiners. Accordingly, the Court does not

           consider this reversible error.

           C.     Whether the ALJ’s decision is supported by substantial evidence

                  Plaintiff argues that the ALJ’s decision that she can return to her previous job is

           not supported by substantial evidence because the hypotheticals posed to the VE “were

           vague and ambiguous; she did not specify whether Plaintiff could carry out detailed

           instructions; did not specify the frequency or duration of the interruptions from her

           psychological symptoms; nor the degree of limitations in relating to coworkers and

           supervisors.” [Doc. 16 at 15 (emphasis original)]. Plaintiff submits that, because the

           VE identified her past jobs as skilled and “determined that Plaintiff could not perform

           her past skilled work based upon the moderate limitations Dr. Prosser assesses” she

           would have difficulty performing skilled work. [Id. at 15-16]. Lastly, Plaintiff claims

           that the ALJ erred by finding Plaintiff could perform her past work as a sales

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           representative because the ALJ gave significant weight to Dr. Duncan and, when this

           opinion was posed to the VE, he stated that she could not perform that job as it required

           advanced sales skills. [Id. at 16-17].

                 The Commissioner responds that summary conclusions from a mental RFC

           assessment by Dr. Prosser are not a functional capacity assessment and the ALJ

           properly relied on the section of Dr. Prosser’s opinion that deals with the RFC and the

           reasons for the same. [Doc. 17 at 16-17 (citing R402-03; Jones v. Comm’r of Soc. Sec.,

           478 Fed. Appx. 610, 612 (11th Cir. Jun. 1, 2012); Land v. Comm’r of Soc. Sec.,

           494 Fed. Appx. 47, 49 (11th Cir. Oct. 26, 2012); Maffia v. Astrue, No. 5:09-cv-184-Oc-

           GRJ, 2010 WL 3893711, at *6 (M.D. Fla. Sept. 29, 2010))]. Plaintiff replies that

           Dr. Prosser’s opinion was itself vague and ambiguous as it did not specify how many

           interruptions were excessive or how limited Plaintiff’s contact with coworkers and

           supervisors should be. [Doc. 18 at 3-4]. Additionally, the Commissioner argues that

           the VE testified–in response to the hypothetical encompassing Dr. Duncan’s

           opinion–that Plaintiff could still perform her past work as a dental hygienist. [Doc. 17

           at 17 (citing Waldrop v. Comm’r of Soc. Sec., 379 Fed. Appx 948, 952 (11th Cir.

           May 21, 2010))].




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                 The ALJ erred in concluding that Plaintiff could perform her past work as a

           pharmaceutical sales representative. First, the ALJ accorded significant weight to

           Dr. Duncan’s assessment–that Plaintiff had no significant limitations. [R30]. Second,

           the ALJ used this hypothetical as the basis for a question the VE, who responded that,

           under this hypothetical, Plaintiff would be unable to perform a job as a sales

           representative. [R72]. Third, the ALJ ultimately adopted an RFC that imposed greater

           restrictions than Dr. Duncan’s assessment dictated; specifically, the ALJ found Plaintiff

           could only maintain adequate concentration and attention for two hours periods in an

           eight-hour workday. [R28, 30]. Lastly, in adopting this RFC, the ALJ opined that

           Plaintiff could perform her past work as both a dental hygienist and as a sales

           representative. [R33]. It is axiomatic that adopting an RFC that imposed greater

           restrictions than Dr. Duncan’s assessment–which, according to the VE, precluded

           Plaintiff from working as a sales representative–leads to the conclusion that Plaintiff

           cannot perform her past work as a sales representative. The ALJ did not explain

           how–despite the VE’s testimony and the RFC’s limitations–she found that Plaintiff

           could still perform a sales representative job. As a result, this was an error.




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                 However, because the VE testified that Plaintiff could still perform her past work

           as a dental hygienist, it was harmless error for the ALJ to conclude that she was not

           disabled and could still perform her past relevant work. [R33].

                 As regards Plaintiff’s contention that Dr. Prosser opined Plaintiff had limitations

           that would preclude her past relevant work, the VE testified to the contrary. [R71].

           Plaintiff offers nothing more than bare assertions that the limitations assessed by

           Dr. Prosser precluded her past relevant work. [Doc. 16 at 16]. The ALJ’s decision is

           not error simply because Plaintiff interprets the facts differently. Here, because the VE

           testified that Dr. Prosser’s assessed limitations would not preclude Plaintiff’s past

           relevant work, “there is substantially supportive evidence” of the ALJ’s decision.

           Barron, 924 F.2d at 230.

                 As regards Plaintiff’s argument that the hypotheticals posed to the VE lacked

           sufficient detail, an ALJ must pose a hypothetical to the VE that

                 “ ‘comprises all of the claimant’s impairments.’ ” Ingram, 496 F.3d at
                 1270 (quoting Wilson v. Barnhart, 284 F.3d 1219, 1227 (11th Cir. 2002)).
                 However, the ALJ is not required to include findings in the hypothetical
                 that the ALJ properly rejects. See Crawford v. Comm'r of Social Security,
                 363 F.3d 1155, 1161 (11th Cir. 2004) (findings rejected as unsupported).
                 Moreover, if additional impairments asserted by a claimant are not
                 supported by substantial evidence, they do not need to be included in a
                 hypothetical. Id. A hypothetical need not include “each and every
                 symptom” alleged by a claimant. Ingram, 496 F.3d at 1270.

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           Wright v. Comm’r of Soc. Sec., 327 Fed. Appx. 135, 136-37 (11th Cir. Apr. 24, 2009).

           Plaintiff offers no legal support whatsoever for her contention that the ALJ erred by not

           including more detailed limitations in the hypotheticals posed to the VE (or using, as

           a basis for those hypotheticals, a more detailed doctor’s opinion). [Doc. 16 at 15-16;

           Doc. 18 passim]. Therefore, the issue is not properly before the Court. See Outlaw v.

           Barnhart, 197 Fed. Appx. 825, 827 n.3 (11th Cir. Aug. 10, 2006) (per curiam) (finding

           that the plaintiff waived an issue by failing to elaborate on the argument or provide a

           citation to authority regarding the argument); see also Dawkins v. Glover,

           308 Fed. Appx. 394, 395 (11th Cir. Jan. 23, 2009) (a legal claim or argument that has

           not been briefed is deemed abandoned and that mentioning an issue without providing

           specific argument in support is not sufficient); Seay v. United States,

           166 Fed. Appx. 422, 423 (11th Cir. Jan. 26, 2006) (holding that appellant’s mere

           statement that district court improperly dismissed his complaint on res judicata grounds

           without any substantive argument in support amounted to abandonment of his claims

           even though he argued the merits of his underlying claims). As Plaintiff points to no

           authority in support of her contention that the ALJ’s hypotheticals lacked sufficient

           detail, the Court concludes that there was no error in the ALJ’s hypotheticals or the

           decision based upon them.

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           VIII. CONCLUSION

                 As the Court finds no error in the claims asserted by Plaintiff, it AFFIRMS the

           final decision of the Commissioner.

                 The Clerk is DIRECTED to enter judgment for Defendant.

                 IT IS SO ORDERED and DIRECTED, this the 6th day of September, 2018.




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